   Case 2:05-cv-04182-SRD-JCW Document 11705-1 Filed 03/07/08 Page 1 of 1




MINUTE ENTRY
DUVAL, J.
March 7, 2008
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                                                      CIVIL ACTION
CONSOLIDATED LITIGATION
                                                                                       NO. 05-4182

PERTAINS TO:                                                                    SECTION "K"(2)
    MRGO AND BARGE
    Publish to Web

       A status conference was held this day in open court concerning the confection of a

Revised Case Management Order for MRGO and BARGE. After lengthy discussion by all

parties in attendance, the Court determined that the parties should confer and present a proposed

order to it. Accordingly,

       IT IS ORDERED that no later than March 21, 2008, counsel shall file with the Court a

Proposed Case Management Order that will contain a specific schedule for the litigation that is

to occur in these two categories simultaneously.

       Such proposed order shall indicate where agreement has been reached, and where there is

disagreement, each separate proposal should provide an explanation of each party’s position.

This proposed order should indicate specific dates for all necessary deadlines including, but not

limited to, discovery, motion cut-offs, expert reports, class action determination, trial of possible

bellwether cases, and the like.

       IT IS FURTHER ORDERED that a copy of the Status Conference shall be filed into

the record.



JS-10: 1 HOUR 55 MINS
